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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION



 SAVE THE BULL TROUT and
 ALLIANCE FOR THE WILD                            CV 21–70–M–DLC-KLD
 ROCKIES,

                        Plaintiffs,

        vs.                                        ORDER

 UNITED STATES FOREST
 SERVICE,

                      Defendant.


      The Complaint having been filed in this case, and pursuant to Federal Rules
of Civil Procedure 16(b) and 26(f) and L.R. 16.1, 16.2, & 26.1,

      IT IS ORDERED:

       1. Responsibility of Plaintiffs’ Counsel. This order is issued at the outset
of the case, and a copy is delivered by the Clerk of Court to counsel for the
plaintiff. Plaintiffs’ counsel is directed to serve a copy of this order to all
parties that have appeared, and to each other party within ten days after
receiving notice of that party’s appearance. Plaintiffs’ case may be dismissed
without prejudice if Plaintiffs fail to serve opposing counsel with this order.

       2. Rule 26(f) Conference and Case Management Plan. A Case
Management Plan shall be filed on or before August 9, 2021. Lead trial counsel for
the respective parties shall, at least two weeks before the Case Management Plan is
due, meet to discuss the nature and basis of their claims and defenses and the
possibilities for a prompt settlement or resolution of the case and to develop a
proposed case management plan. The case management plan resulting from the
Rule 26(f) conference is not subject to revision absent compelling reasons.
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      3. Contents of Case Management Plan. The Case Management Plan shall
contain deadlines for the following pretrial motions and events or shall state that
such deadlines are not necessary:

      Motions to Dismiss (fully briefed)
      Certification of Administrative Record
      Motions to Supplement the Administrative Record
      Motions to Amend the Pleadings
      Completion of Discovery
      Motions for Summary Judgment (fully briefed)
      Additional Deadlines Agreed to by the Parties

‟Fully briefed” means that the motion, the brief in support of the motion, and the
opposing party’s response brief are filed with the court by the deadline.

       4. Representation at Rule 26(f) Conference. Each party to the case must
be represented at the Rule 26(f) conference by at least one person with authority to
enter into stipulations.

      5. Stipulation to Foundation and Authenticity. Pursuant to Rule
16(c)(3), the parties shall either:
      (a) enter into the following stipulation:
              The parties stipulate as to foundation and authenticity for all written
              documents produced in pre-trial disclosure and during the course of
              discovery. However, if receiving counsel objects to either the
              foundation or the authenticity of a particular document, then receiving
              counsel must make specific objection to producing counsel in writing
              within a reasonable time after receiving the document. A
              ‟reasonable” time means that producing counsel has sufficient time to
              lay the foundation or establish authenticity through depositions or
              other discovery. If the producing party objects to a document’s
              foundation or authenticity, the producing party shall so state, in
              writing, at the time of production, in sufficient time for receiving
              counsel to lay the foundation or establish authenticity through
              depositions or other discovery. All other objections are reserved.
or,
      (b) state why a stipulation to authenticity and foundation is not appropriate
              for the case.
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       6. Administrative Record: If an administrative record is involved, it must
be filed in an indexed and searchable electronic format. The government shall
provide Plaintiff with the administrative record on or before the administrative
record filing deadline set out in ¶ 4, supra. The government must also file with
the Court ONE hard copy of the following documents (along with any
attachments or appendices) to the extent any such documents are at issue in
the case:

      Final Environmental Impact Statement
      Supplemental Environmental Impact Statement
      Record of Decision or Decision Notice
      Forest Plan or other programmatic planning document
      Biological Assessment
      Biological Opinion
      Finding of No Significant Impact
      Final Listing/Delisting Rule


            DATED this 8th day of June, 2021.



                                            ______________________________
                                            Kathleen L. DeSoto
                                            United States Magistrate Judge
